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        SUPREME                    COURT               OF THE                 STATE              OF      NEW YORK                      COUNTY                   OF KINGS
        ---------------------------------------------------------_Ç



                                                                                                                                               Index       No.                       l___
                                                                                                                                               Date      Index        No.     purchased



        SAMUEL                 OBRIEN                  Plaintiff,



        -against



        CITY          OF       NEW            YORK,              DEPARTMENT                              OF EDUCATION                           Defendants



        -----------------------------------------x



                                                                                                                                                                             SUMMONS
        To     the     Person(s)              Named              as Defendant(s)                        Above:



        PLEASE               TAKE             NOTICE                  THAT            YOU          ARE          HEREBY                 SUMMONED                       to answer          the     complaint

        of     the    plaintiff(s)             herein            and        to serve         a copy         of    your         answer          on the       plaintiff(s)            at the      address

        indicated            below            within        20        days      after        the      service          of    this      Summons            (not       counting         the      day         of

        service         itself),         or within               30     days        after     service            is complete              if the       Summons              is not     delivered

        personally             to you           within           the        State     of New             York.



        YOU           ARE          HEREBY                  NOTIFIED                   THAT              should         you      fail    to     answer,          a judgment            will     be      entered

        against         you        by     default          for        the    relief         demanded              in    the     complaint.



        Dated:         April           6, 2022                                                                                                                  SAMUEL               OBRIEN
                                                                                                                                                                60   Clarkson          Ave,          2F,

                                                                                                                                                                Brooklyn        NY           11226

                                                                                                                                                                Phone       : 917-742-6510.



        Defendant's                Address             :

        City         of New            York       , Department                      of Education

        52     Chambers                 Street,        Room             320,        B4
        New          York,     New            York         10007



                        Venue:           Plaintiff          designates                   Kings          County          as the         place     of    trial.        The    basis      of     this

                        designation                 is :
                                         Plaintiff(s)'
                                                                      Residence               in   Kings          County,
                                         Defendant(s)'
                                   8                                        Residence              in    Kings          County.




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          SUPREME COURT OF THE STATE OF NEW YORK COUNTY OF KINGS

          TO THE SUPREME COURT OF THE STATE OF NEW YORK


                                                                        INDEX NUMBER_______/20____
                                                                        [PURCHASE DATE OF INDEX #            ]

          Samuel OBrien, Pro Se PLAINTIFF

          Against                                                                      COMPLAINT

          The City of New York, Department of Education DEFENDANT




          TO THE SUPREME COURT OF THE STATE OF NEW YORK

          The complaint of the plaintiff, SAMUEL OBRIEN respectfully shows and alleges as follows:




          1. NYC Department of Education employees, namely the staff at High School for Youth and

          Community Development, (located at 911 Flatbush Ave, Brooklyn NY 11226), violated Title VII

          of the Civil Rights Act of 1964, in that they discriminated against plaintiff ( Samuel O’Brien)

          while he was an employed as a Special Education Teacher, based on race, color, national origin

          and religion.



          2. Plaintiff was denied access to a bathroom facility despite numerous requests(both verbally

          and in writing). Plaintiff is also suing for the subsequent retaliation by school staff after he made

          complaints to The United Federation of Teachers (UFT), his UFT representative at the school,

          and the NYC Department of Education’s, Office of Equal Opportunity.




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          3. This retetaliation comprised of biased performance reviews, false charges of insubordination,

          discriminatory remarks made against him by staff members which alluded to his nationality and

          religion. These false allegations culminated into his termination, which he received notice of on

          8/20/2021, 5 days after filing a case of discrimination with the NY Office of Human Rights.



          4. Under United States Department of Labor Law, employers are required to provide employees

          with the human right of restroom access regardless of race, gender or nationality. OSHA's

          sanitation standard for general industry, 29 CFR 1910.141(c)(l)(i), requires employers to provide

          their employees with toilet facilities: It goes on to state in memorandum 1910.141(c)(1)(i), that

          “employers must make toilet facilities available so that employees can use them when they need

          to do so. According to Title VII of The Civil Rights Act of 1964, VII), § 296 of New York State

          Executive Law, it is unlawful in the state of NY for employers to discriminate against employees

          based on race/nationality and gender.



          5. During my tenure at the High School for Youth and Community Development, I, Samuel

          OBrien, was discriminated against by the school administration and the teaching staff, based on

          my race, nationality, gender and religious beliefs. The accounts of discrimination are clearly

          noted and documented through texts and email messages and show that the staff at the High

          School for Youth and Community Development gave me a key for a female bathroom, and upon

          my returning it,thinking it was a mistake, they continued for months to deny my requests for a

          key to a bathroom facility on the school premises, In addition, I was retailed against after making

          complaints to my union(the United Federation of Teachers), my union rep, and the Education

          Department’s Office of Civil Rights. This triggered a host of untruthful allegations of misconduct




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          and the biased performance reviews resulting in the lowest possible teaching ratings at the

          school.



          6. On September 29, 2020, I Samuel OBrien, just as I was about to begin a class, was given a key

          by one of the custodial workers, (referred to as Mr.G). and was told that it was for the bathroom

          on the 5th floor. That very same day at 8:21am, before my first period class started at 8:30 am, I

          received an email from AP Jofee to which I confirmed at 8:26 am, that I had received the key

          from the custodian and would reach out if there were any issues. After my class, I went to the

          door and noticed that it was a female bathroom. I promptly returned the key to Mr.G and

          Ms.Desdunes, who were seated in a room on the 5th floor, and communicated that it was a key to

          a female bathroom, thinking that it was an error.



          7. Following this event, I requested both verbally and via email, to several members of staff,(

          Assistant Principal Avi Jofee, Assistant Principal Raizy .Silberstein, school custodian Mr.G, and

          office staff worker, Ms.Desdunes for a key to a toilet facility. For months, AP Joffe, though

          being aware of my requests, ignored me for months, visiting my classroom everyday

          withoutcordial morning salutations. Upon realizing that AP Joffe was intent on ignoring me, I

          related the information to AP Silberstein who confirmed that she will make sure that a key was

          provided to me. Instead of being given a key, on November 4, 2020, Assistant Principal Joffe had

          a staff member place an easily removable “unisex” paper sign on the same 5th floor women’s

          bathroom door, however, neither AP Joffee or any other school representative provided a key to

          that bathroom or any other within the school building. It is important to note that all other

          teachers and school staff had their personal key to a bathroom facility that reflected their gender,




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          which they could use at their convenience. In addition, all of the staff restroom facilities required

          a key for entry, and, despite my numerous requests for one from the custodian, Mr.G, Assistant

          Principal Mr.Joffe and Assistant Principal Silberstein, I went without access to a toilet facility for

          months. My requests seemed to infuriate both the custodian and AP Joffe. This particular

          custodian referred to as Mr.G, who also claimed to be of Trinidadian descent later mimicked my

          Trinidadian accent while condescendingly denying me. One of his responses was that he would

          “break it down in a language” so I could understand. This was offensive as I was the only afro

          male Trinidadian teacher on the YCD staff.



          8. The items of damage or injuries sought are due to the discriminatory practices of the school

          staff and administration for discrimination based on my race, national origin, sex and religion

          which caused undue amounts of emotional stress on myself and my family. I am seeking

          financial damages for the loss of income, credit rating damage, loss of assets, loss of my teaching

          certification, loss of university credentials and time lost in pursuing my Masters Degree and for

          the mental and emotional distress amounting to $300, 000 in damages.This is based on the

          number of employees at the Department of Education. I am also requesting the reinstating of my

          teaching license and any record of misconduct removed from my personal file.



          9. By reason of the facts and circumstances stated above, plaintiff has been damaged by

          defendant in the sum of $300,000. WHEREFORE, plaintiff demands judgment against defendant

          in the sum of $300,000.00 together with any other relief the Court finds to be just and proper.




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       Breakdown


       $200,000                  for        Tort         and      Personal           injury            ( based        on      employer               having             more          than     50,000          employees)


       due      to        the      intentional                    infliction          of    emotional                distress           of     having              my       basic       human           rights       violated



       during            my        tenure,               $50,       000        for   loss        of    certification,             time         and         lost      wages,           $50,000           for    defamation


       and         for         credit             rating          damage,            loss         of      assets,          loss        of     university                  credentials               and       time       lost     in



       pursuing                  my          Masters                Degree           in         Education               and       for         the      mental               and        emotional              distress           for



       employment                       discrimination                     based           on     race,      nationality               and      religion.




       Dated             : April            21,     2022                                                                          Plaintiff            :   SAMUEL                     OBRIEN


                                                                                                                                  60        Clarkson               Ave,      2F,       Brooklyn,              NY      11226



                                                                                                                                  Phone             : 917-742-6510




                                                                                                  VERIFICATION


                                 4      9                                 Ò0          h                      being         duly         sworn,             deposes              and     says:       I am the         plaintiff


       in    the         above-entitled                         action.          I have          read      the      foregoing                complaint               and        know         the    contents         thereof.



       The         same              are          true      to      my         knowledge,                 except           as     to        matters               therein           stated         to   be       alleged         on


       information                      and        belief         and     as and           as to those           matters           I believe               them           to be true.




                                                                                                                                                                        Signature




       Sworn             to before            me this                                                                                                                   Print       Name


                lay       of                 20




             ARLlC                     LORVIL-CHARLES
      Ñ ÏARY               (BI       C-STATE             OF NEW YORK
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                                                                                                                                                                                                                                       5
                Ó         Ìified        in Kings           County
       My Commission                        E×pires         08-27-2023

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                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                              New York District Office
                                                                                              33 Whitehall St ,5th Floor
                                                                                            New York ,New York ,10004
                                                                                                       (929) 506-5270
                                                                                               Website: www.eeoc.gov


                            DETERMINATION AND NOTICE OF RIGHTS
                                 (This Notice replaces EEOC FORMS 161 & 161-A)

                                 Issued On: 03/04/2022
          To: Samuel O'Brien
              60 Clarkson Avenue, Apt 2F
          Brooklyn, NY 11226

          Charge No: 16G-2021-02667

           EEOC Representative and email:           Holly Shabazz
                                                    S/L Tribal Program Manager
                                                    holly.shabazz@eeoc.gov


                                         DETERMINATION OF CHARGE

          The EEOC issues the following determination: The EEOC will not proceed further with its
          investigation and makes no determination about whether further investigation would establish
          violations of the statute. This does not mean the claims have no merit. This determination does
          not certify that the respondent is in compliance with the statutes. The EEOC makes no finding as
          to the merits of any other issues that might be construed as having been raised by this charge.

          The EEOC has adopted the findings of the state or local fair employment practices agency that
          investigated your charge.

                                     NOTICE OF YOUR RIGHT TO SUE

          This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
          you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
          or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
          Receipt generally occurs on the date that you (or your representative) view this document. You
          should keep a record of the date you received this notice. Your right to sue based on this charge
          will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
          based on a claim under state law may be different.)

          If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
          court complaint to charge 16G-2021-02667.




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                                                                                               New York District Office
                                                                                               33 Whitehall St ,5th Floor
                                                                                             New York ,New York ,10004
                                                                                                        (929) 506-5270
                                                                                                Website: www.eeoc.gov


                                                        On Behalf of the Commission:

                                                           Digitally Signed By:Judy Keenan
                                                           03/04/2022
                                                           Judy Keenan
                                                           District Director



          Cc: City of NY Dept. of Education



          Please retain this notice for your records.




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          Enclosure with EEOC Notice of Closure and Rights (Release Date)




                                         INFORMATION RELATED TO FILING SUIT
                                        UNDER THE LAWS ENFORCED BY THE EEOC
           (This information relates to filing suit in Federal or State court under Federal law. If you also
          plan to sue claiming violations of State law, please be aware that time limits may be shorter and
                     other provisions of State law may be different than those described below.)

          IMPORTANT TIME LIMITS – 90 DAYS TO FILE A LAWSUIT
          If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
          you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
          generally means the date when you (or your representative) opened this email or mail. You should
          keep a record of the date you received this notice. Once this 90-day period has passed, your
          right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
          attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
          your receiving it (email or envelope).
          Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
          Whether you file in Federal or State court is a matter for you to decide after talking to your
          attorney. You must file a "complaint" that contains a short statement of the facts of your case
          which shows that you are entitled to relief. Filing this Notice is not enough. For more information
          about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.

          ATTORNEY REPRESENTATION
          For information about locating an attorney to represent you, go to:
          https://www.eeoc.gov/employees/lawsuit.cfm.

          In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
          who demonstrate that they are financially unable to afford an attorney.
          HOW TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS
          There are two ways to request a charge file: 1) a FOIA Request or 2) a Section 83 request. You may
          request your charge file under either or both procedures. EEOC can generally respond to Section 83
          requests more promptly than FOIA requests.




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          Since a lawsuit must be filed within 90 days of this notice, please submit your request for the
          charge file promptly to allow sufficient time for EEOC to respond and for your review. Submit a
          signed written request stating it is a “FOIA Request” or a “Section 83 Request” for Charge
          Number 16G-2021-02667 to the District Director at Judy Keenan, 33 Whitehall St 5th Floor
          New York, NY 10004. You can also make a FOIA request online at
          https://eeoc.arkcase.com/foia/portal/login.

          You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After the
          90 days have passed, you may request the charge file only if you have filed a lawsuit in court and
          provide a copy of the court complaint to EEOC.

          For more information on submitting FOIA Requests and Section 83 Requests, go to:
          https://www.eeoc.gov/eeoc/foia/index.cfm.




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